

People v Jaramillo (2019 NY Slip Op 02007)





People v Jaramillo


2019 NY Slip Op 02007


Decided on March 15, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2019

PRESENT: CENTRA, J.P., PERADOTTO, CARNI, AND LINDLEY, JJ. (Filed Mar. 15, 2019.) 


MOTION NO. (796/12) KA 11-00972.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vMIGUEL A. JARAMILLO, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








